✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                                                                                       DISTRICT OF                                MASSACHUSETTS



               UNITED STATES OF AMERICA
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                      1] NIA MOORE-BUSH                                                                                Case Number: 18-cr-30001-MGM

PRESIDING JUDGE                                                   GOVT’S ATTORNEY                                            DEFENDANT’S ATTORNEY
 Katherine A. Robertson, U.S.M.J.                                   Katharine Wagner                                          Thomas J. O'Connor, Jr.
HEARING DATE (S)                                                   COURT REPORTER                                            COURTROOM DEPUTY
 1/22/2018 - 1/23/2018                                              FTR                                                       Melissa M. Calderón
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

   1                  1/22/2018           EXH           Yes         MA License to Carry (LTC)/Firearms ID Card (FID)(BOPFI) Search - Nia Moore-Bush (Redacted)

   2                  1/22/2018           EXH           Yes         MA Firearms Ownership (FSI) for Nia Moore-Bush (Redacted)

   3                  1/22/2018           EXH           Yes         Photo of Firearm

   4                  1/22/2018           EXH           Yes         Photo of Firearm

   5                  1/22/2018           EXH           Yes         Excerpt of Recording of 2/16/2017 Firearm Transction (Disc)

   6                  1/22/2018           EXH           Yes         Springfield Police Department Incident Report dated 1/26/2017 (Redacted)

   7                  1/22/2018           EXH           Yes         ATF Firearms Trace Summary - Completion Date: 3/7/2017

   8                  1/22/2018           EXH           Yes         Photo of Firearm

   9                  1/22/2018           EXH           Yes         Photo of Firearm

  10                  1/22/2018           EXH           Yes         Photo of Firearm

  11                  1/22/2018           EXH           Yes         Photo of Firearm

  12                  1/22/2018           EXH           Yes         Screenshot of Facebook Post dated 11/18/2017

  13                  1/22/2018           EXH           Yes         Photos of Ammunition Belt & Box of Ammunition

  14                  1/22/2018           EXH           Yes         1/12/18 Interview of Nia Moore-Bush (Disc)

 14B                  1/22/2018            ID            No         Transcript of 1/12/18 Interview of Nia Moore-Bush

  15                  1/22/2018           EXH           Yes         Table entitled: Court - Authorized Wire and/or Electronic Interception

  16                  1/22/2018           EXH           Yes         Intercepted Telephone Calls (Disc)

 16A                  1/22/2018            ID            No         Transcript of Telephone Call - 11/21/2017

 16B                  1/22/2018            ID            No         Transcript of Telephone Call - 11/16/2017

 16C                  1/22/2018            ID            No         Transcript of Telephone Call - 11/24/2017

 16D                  1/22/2018            ID            No         Transcript of Telephone Call - 11/15/2017

 16E                  1/22/2018            ID            No         Transcript of Telephone Call - 1/2/2018
* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    2   Pages
✎AO 187A (Rev. 7/87)              EXHIBIT AND WITNESS LIST – CONTINUATION
                                                                                                  CASE NO.
   UNITED STATES OF AMERICA               vs.            1] NIA MOORE-BUSH                        18-cr-30001-MGM
 PLF.   DEF.     DATE
                           MARKED ADMITTED                                  DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.    NO.    OFFERED

 16F           1/22/2018     ID      No         Transcript of Telephone Call - 1/11/2018


 17            1/22/2018    EXH     Yes         Entry in Joshua Foster's Ledger entitled: "Straight" Weight

 18            1/22/2018    EXH     Yes         Entry in Joshua Foster's Ledger under date of January 19, 2018

 19            1/22/2018    EXH     Yes         Photo of Drugs Recovered from 892 Main Street on 1/12/18

 20            1/22/2018    EXH     Yes         Photos of Drugs on Scale Recovered from 892 Main Street on 1/12/18

 21            1/22/2018    EXH     Yes         Photos of Drugs on Scale Recovered from 892 Main Street on 1/12/18

22**           1/22/2018    EXH     Yes         Nia Moore-Bush's Drivers's Licenses - VT & MA

23**           1/22/2018    EXH     Yes         Nia Dinzey's Application for Car Loan

24**           1/22/2018    EXH     Yes         Planet Fitness Card Recovered from Nia Moore-Bush's Purse on 1/12/18

 25            1/22/2018    EXH     Yes         Documents from the Department of Motor Vehicles - Connecticut (Redacted)

 26            1/22/2018    EXH     Yes         Hampden Probate & Family Court Docket and Judgment of Paternity Case No: HD01W0675CA1

 27            1/22/2018    EXH     Yes         Nia Moore-Bush Birth Certificate (Redacted)

        28**   1/22/2018    EXH     Yes         Photos of Nia Moore-Bush's Prescriptions Provided to ATF on 1/12/18

29**           1/22/2018    EXH     Yes         Nia Moore-Bush's Medical Treatment Logs from Hampden County Sheriff's Office




                                                **SEALED




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